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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1839V
                                        (not to be published)


    JEAN ROBEY,
                                                                Chief Special Master Corcoran
                          Petitioner,
    v.                                                          Filed: January 31, 2022


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Jason Robert Ohliger, Zimmerman & Ohliger, LLC, Milford, PA, for Petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEYS’ FEES AND COSTS 1

       On December 4, 2019, Jean Robey filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration following an influenza vaccine administered on October 2, 2018. (Petition
at 1). On September 9, 2021, a decision was issued awarding compensation to Petitioner
based on the Respondent’s proffer. (ECF No. 45).



1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated December 7,
2021 (ECF No. 49), requesting a total award of $8,921.05 (representing $8,047.30 in fees
and $873.75 in costs). In accordance with General Order No. 9, Petitioner filed a signed
statement indicating that she incurred no out-of-pocket expenses. (ECF No. 49-6).
Respondent reacted to the motion on December 13, 2021, indicating that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case, but deferring resolution of the amount to be awarded at the Court’s discretion. (ECF
No. 50). Petitioner did not file a reply thereafter.

        In light of all the facts and circumstances of this case, particularly including the
history of expedited resolution within the Special Processing Unit, and mindful of
respondent’s response to the instant application, I find that upon review of the submitted
billing records and based on my experience in evaluating fee applications in similar
Vaccine Act claims that the overall amount sought for attorneys’ fees and costs is
reasonable. Thus, especially in the absence of any particularized objection from
respondent, further analysis is not warranted. Special Masters have “wide latitude in
determining the reasonableness of both attorneys’ fees and costs.” Hines v. HHS, 22 Cl.
Ct. 750, 753 (Fed. Cl. 1991). Moreover, Special Masters are entitled to rely on their own
experience and understanding of the issues raised. Wasson v. HHS, 24 Cl. Ct. 482, 483
(Fed. Cl. 1991) aff’d in relevant part, 988 F.2d 131 (Fed.Cir.1993) (per curiam). J.B. v.
HHS, No. 15-67V, 2016 WL 4046871 (Fed. Cl. Spec. Mstr. July 8, 2016) (addressing
attorneys’ fees and costs in the context of a history of attorneys’ fees and costs awards
in over 300 similarly situated SPU cases.)

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $8,921.05 3 (representing $8,047.30 in fees and $873.75 in costs) as a
lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.

        The clerk of the court shall enter judgment in accordance herewith. 4



3
   In f inding the amount requested f or attorneys’ f ee reasonable, this decision does not make any specific
f inding regarding the reasonableness of counsel’s individual hourly rates, or whether an attorney practicing
in Milf ord, Pennsylvania is entitled to receive forum rates for Vaccine Program work. Rather, based on the
totality of the circumstances, the total amount billed for the hours spent in this compensated case is being
deemed acceptable.
4
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     2
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IT IS SO ORDERED.

                                        s/Brian H. Corcoran
                                        Brian H. Corcoran
                                        Chief Special Master




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